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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    J & M SALES INC., et al.,1                                   Case No. 18-11801 (LSS)

                                                                 (Jointly Administered)
                           Debtors.
                                                     _________________________________/

                     NOTICE OF APPEARANCE, REQUEST FOR SERVICE OF
                 PAPERS AND REQUEST TO BE ADDED TO MASTER SERVICE LIST

             Please take notice that Honigman Miller Schwartz and Cohn LLP hereby appears in the

    above-captioned case as counsel for Silverado Ranch Plaza, LLC and requests that any and all

    notices given or required to be given in the above-captioned case, and all papers served or

    required to be served in the case, be served upon the following attorneys, and that the

    undersigned be added to the master service list on file with the Clerk of the Court:

                                  Lawrence A. Lichtman, Esq.
                                  Honigman Miller Schwartz and Cohn LLP
                                  2290 First National Building
                                  660 Woodward Avenue
                                  Detroit, MI 48226
                                  Telephone: (313) 465-7590
                                  Facsimile: (313) 465-7591
                                  Email: llichtman@honigman.com

             Please take notice that the foregoing request includes not only the notices and papers

    referred to in the Federal Rules of Bankruptcy Procedure, but also includes, without limitation,

    orders and notices of any application, motion, petition, pleading, request, complaint or demand


1  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of
Texas, LLC (5979); FP Stores, Inc. (6795); Southern Island Stores, LLC (8099); Southern Island Retail
Stores LLC (4237); Caribbean Island Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores
Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’ mailing address is 15001 South
Figueroa Street, Gardena, CA 90248.


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filed in this matter, whether transmitted or conveyed by mail, hand delivery, telephone,

telegraph, telex, email, facsimile or otherwise.

         The foregoing request also includes all notices required to be served under any and all of

the provisions of the Bankruptcy Code and Bankruptcy Rules 2002, 3017 and 9007.

         PLEASE TAKE FURTHER NOTICE THAT, this Appearance shall not be deemed to be

a waiver of any rights of Silverado Ranch Plaza, LLC (i) to have final orders in non-core matters

entered only after de novo review by a district judge; (ii) to trial by jury in any proceeding so

triable herein or in any case, controversy or proceeding related hereto; (iii) to have the reference

withdrawn by the District Court in any matter subject to mandatory or discretionary withdrawal;

or (v) to any other rights, claims, actions, defenses, setoffs, or recoupments to which Silverado

Ranch Plaza, LLC is or may be entitled under agreements in law or in equity, all of which rights,

claims, actions, defenses, setoffs and recoupments Silverado Ranch Plaza, LLC expressly

reserves.


                                         HONIGMAN MILLER SCHWARTZ AND COHN LLP
                                         Attorneys for Silverado Ranch Plaza, LLC


                                         By: /s/ Lawrence A. Lichtman
                                               Lawrence A. Lichtman (Michigan Bar # P35403)
                                         Not admitted in Delaware
                                         2290 First National Building
                                         660 Woodward Avenue
                                         Detroit, MI 48226-3583
                                         Telephone: (313) 465-7590
                                         Facsimile: (313) 465-7591
Dated: November 9, 2018                  llichtman@honigman.com




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

J & M SALES INC., et al.,1                                    Case No. 18-11801 (LSS)

                                                              (Jointly Administered)
                       Debtors.
                                                  _________________________________/

                                  CERTIFICATE OF SERVICE

         I hereby certify that, on November 9, 2018, I caused to be electronically filed the

foregoing papers with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all CM/ECF participants.




                                         By: /s/ Lawrence A. Lichtman
                                             Lawrence A. Lichtman




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